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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF NEW YORK

    ------------------------------------------------------ x

    Amy Schneider and Erika Opgenorth, on                   :
    behalf of themselves and all others similarly           :   CASE NO. 5:22-CV-1294 (DNH/TWD)
    situated,                                               :
                                                            :
                              Plaintiffs,                   :
                                                            :   CLASS ACTION COMPLAINT
            v.                                              :
                                                            :   JURY TRIAL DEMANDED
    Colgate-Palmolive Company and CP Skin                   :
    Health Group, Inc.,                                     :
                                                            :
                             Defendants.                    :

    ------------------------------------------------------ x

           Plaintiffs Amy Schneider and Erika Opgenorth (“Plaintiffs”), on behalf of themselves

and all others similarly situated, by and through their attorneys, bring this Class Action

Complaint against Colgate-Palmolive Company and CP Skin Health Group, Inc. (collectively,

“Defendants”), based upon personal knowledge as to themselves, and upon information,

investigation and belief of their counsel.

                                     SUMMARY OF THE ACTION

           1.       This class action seeks to challenge Defendants’ false and deceptive practices

in the marketing, distribution, and sale of EltaMD Transparent Zinc Oxide sunscreens (the

“Products”1).




1
    The “Products” are further defined in Paragraph 15.


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       2.      Defendants have labeled and advertised the Products in a manner which

misleads consumers into believing the only active UV sunscreen ingredient in the Products is

zinc oxide, a premium mineral sunscreen ingredient used to protect the skin from UV rays.

       3.      For example, the front label of each Product prominently represents that the

Products contain “Transparent Zinc Oxide,” a representation which misleads reasonable

consumers into believing the only active sunscreen ingredient in the Products is zinc oxide. No

other active sunscreen ingredient is mentioned on the front label. Moreover, the fact that the

Products are advertised as being “Mineral-Based” on online retail platforms such as

Amazon.com further reinforces the misleading impression that the sole active sunscreen

ingredient in the Products is zinc oxide which is a mineral ingredient.

       4.      Unbeknownst to consumers however, a significant portion of each Product’s

active sunscreen ingredients is chemical sunscreen ingredient(s), such as octinoxate, octisalate,

and octocrylene, which have a well-documented record of being harmful to the skin and the

environment. Indeed, nearly half of the challenged the Products contain a higher

concentration of chemical sunscreen ingredients than zinc oxide.

       5.      Plaintiffs and other consumers purchased the Products and paid a premium price

based upon their reliance on the front label “Transparent Zinc Oxide” representation.

Moreover, Plaintiffs and other consumers who purchased the Products on Amazon.com also

saw and relied on the phrase “Mineral-Based” in the product titles on Amazon.com. Had

Plaintiffs and other consumers been aware that the Products contain significant levels of

chemical sunscreen ingredients, they would not have purchased the Products or would have

paid significantly less for them. Accordingly, Plaintiffs and Class members have been injured

by Defendants’ deceptive business practices.



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                                 JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness

Act of 2005, 28 U.S.C. § 1332(d)(2), because this is a class action filed under Rule 23 of the

Federal Rules of Civil Procedure, there are thousands of proposed Class members, the

aggregate amount in controversy exceeds $5,000,000 exclusive of interest and costs, and

Defendants are citizens of a state different from at least some members of the proposed Classes.

        7.      This Court has personal jurisdiction over Defendants because Defendants have

sufficient minimum contacts in New York, or otherwise intentionally availed themselves of

the markets within New York, through their sale of the goods and products, including the

Products, in New York to New York consumers.

        8.      Venue is proper in this judicial District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to Plaintiff Opgenorth’s claims

occurred in this District. Plaintiff Opgenorth resides in this District and she purchased one of

the Products in this District.

                                          PARTIES

        9.      Plaintiff Schneider is a citizen of California and currently resides in Los

Angeles, California. In or around February 2020, Ms. Schneider purchased the EltaMD UV

Daily Broad-Spectrum SPF 40 Transparent Zinc Oxide, Tinted Product from Amazon.com.

Based on the words “Zinc Oxide” on the front label of the Product, Ms. Schneider reasonably

believed that the Product contained only zinc oxide as the active sunscreen ingredient.

Moreover, Ms. Schneider saw the phrase “Mineral-Based” on the Amazon.com title/name of

the Product (depicted below), which reinforced the perception that the Product contained only

zinc oxide as the active sunscreen ingredient. Had she known that the Product contained



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chemical active ingredients, she would not have purchased it, or would have paid significantly

less for it. As such, she has been injured as a direct result of Defendants’ conduct.

       10.     Plaintiff Opgenorth is a citizen of New York and currently resides in

Baldwinsville, New York. In or around March 2021, Ms. Opgenorth purchased the EltaMD

UV Daily Broad-Spectrum SPF 40 Transparent Zinc Oxide Product from Amazon.com. Based

on the words “Zinc Oxide” on the front label of the Product, Ms. Opgenorth reasonably

believed that the Product contained only zinc oxide as the active sunscreen ingredient.

Moreover, Ms. Opgenorth saw the phrase “Mineral-Based” on the Amazon.com title/name of

the Product (depicted below), which reinforced the perception that the Product contained only

zinc oxide as the active sunscreen ingredient. Had she known that the Product contained

chemical active ingredients, she would not have purchased it, or would have paid significantly

less for it. As such, she has been injured as a direct result of Defendants’ conduct.

       11.     Defendant Colgate-Palmolive Company is a corporation with its principal place

of business in New York, New York. Defendant Colgate-Palmolive Company is responsible

for the formulation, manufacturing, labeling, advertising, distribution and sale of the Products

nationwide, including in this District.

       12.     Defendant CP Skin Health Group, Inc. is a corporation with its principal place

of business in Scottsdale, Arizona. Defendant CP Skin Health Group, Inc. was formed as an

entity responsible for the EltaMD brand after its acquisition by Defendant Colgate-Palmolive

Company.

                                FACTUAL ALLEGATIONS

       13.     In 2018, Colgate-Palmolive Company purchased EltaMD, which was and

currently is one of the fastest-growing brands in professional skin care.



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       14.     The EltaMD brand offers a variety of premium skin and sun care products, with

its bestselling products being sunscreen and sun protection products sold for approximately

$30-$40 per bottle.

       15.     The EltaMD sunscreen products at issue in this case include the following:

               a.      EltaMD UV Daily Broad-Spectrum SPF 40 Transparent Zinc Oxide;

               b.      EltaMD UV Daily Broad-Spectrum SPF 40 Transparent Zinc Oxide,

                       Tinted;

               c.      EltaMD UV Clear Broad-Spectrum SPF 46 Transparent Zinc Oxide;

               d.      EltaMD UV Clear Broad-Spectrum SPF 46 Transparent Zinc Oxide,

                       Tinted;

               e.      EltaMD UV Sport Broad-Spectrum SPF 50 Transparent Zinc Oxide;

               f.      EltaMD UV Sheer Broad-Spectrum SPF 50+ Transparent Zinc Oxide;

               g.      EltaMD UV Lotion Broad-Spectrum SPF 30+ Transparent Zinc Oxide;

               h.      EltaMD UV Facial Broad-Spectrum SPF 30+ Transparent Zinc Oxide;

                       and

               i.      EltaMD UV Lip Balm Broad-Spectrum SPF 36 Transparent Zinc Oxide.

       16.     Unfortunately for consumers, Defendants engage in false and misleading

labeling and advertising to charge a premium, boost sales, and increase profits for the Products,

all at the expense of unsuspecting consumers.

       17.     Specifically, the front label of each Product prominently represents that the

Products contain “Transparent Zinc Oxide.” See below example.




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       18.     Notably, and as depicted in the example above, the front label of each Product

fails to list or disclose any active sunscreen ingredient(s) other than “zinc oxide.”

       19.     Based on these representations and omissions, reasonable consumers

purchasing the Products are led to believe that the only active sunscreen ingredient in the

Products is zinc oxide, a mineral sunscreen ingredient.




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         20.    Reinforcing these misleading representations and omission is the fact that on

the Amazon.com2 pages for some of the Products (e.g., the Amazon.com product pages from

which both Plaintiffs purchased the Products), the Products are advertised as being “Mineral-

Based” in the product names/titles. See below example.




         21.    Contrary to their labeling and advertising however, and unbeknownst to

Plaintiffs and other consumers, nearly half of each Products’ active sunscreen ingredients are

chemical sunscreen ingredient(s), such as octinoxate, octisalate and octocrylene. Indeed, nearly

half of the Products contain a higher concentration of chemical sunscreen ingredients than

zinc oxide.



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    The Products have almost 100,000 reviews combined on Amazon.com.


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       22.    For example, the EltaMD UV Sport Broad-Spectrum SPF 50 Transparent Zinc

Oxide sunscreen contains a combined 12.5% octinoxate and octisalate versus only 9% zinc

oxide. The EltaMD UV Facial Broad-Spectrum SPF 30+ Transparent Zinc Oxide sunscreen

contains 7.5% Octinoxate versus only 7.0% Zinc oxide.

       23.    The remaining Products contain significant amounts of octinoxate, octisalate

and/or octocrylene in addition to zinc oxide. Table 1, set forth below, lists the sunscreen

ingredient composition for each Product challenged:


                  Product                    Chemical Concentration               Zinc Oxide

                                                                               Concentration
     EltaMD UV Sport Broad-Spectrum              7.5% Octinoxate; 5.0%        9.0% Zinc Oxide
       SPF 50 Transparent Zinc Oxide                   Octisalate
        EltaMD UV Lip Balm Broad-                   7.5% Octinoxate           7.0% Zinc Oxide
     Spectrum SPF 36 Transparent Zinc
                   Oxide
     EltaMD UV Facial Broad-Spectrum               7.5% Octinoxate            7.0% Zinc Oxide
      SPF 30+ Transparent Zinc Oxide
     EltaMD UV Lotion Broad-Spectrum               7.5% Octinoxate            7.0% Zinc Oxide
      SPF 30+ Transparent Zinc Oxide
     EltaMD UV Daily Broad-Spectrum                7.5% Octinoxate            9.0% Zinc Oxide
       SPF 40 Transparent Zinc Oxide
     EltaMD UV Daily Broad-Spectrum                7.5% Octinoxate            9.0% Zinc Oxide
       SPF 40 Transparent Zinc Oxide,
                  Tinted
     EltaMD UV Clear Broad-Spectrum                7.5% Octinoxate            9.0% Zinc Oxide
       SPF 46 Transparent Zinc Oxide
     EltaMD UV Clear Broad-Spectrum                7.5% Octinoxate            9.0% Zinc Oxide
       SPF 46 Transparent Zinc Oxide,
                  Tinted
     EltaMD UV Sheer Broad-Spectrum                10% Octocrylene            15% Zinc Oxide
      SPF 50+ Transparent Zinc Oxide


       24.    As a result, the Products are deceptively labeled and advertised.




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         25.   The EltaMD Instagram page is equally misleading as it focuses heavily on zinc

oxide as an ingredient (rather than the chemical ingredients in the Products). See examples

below.




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        26.   And in one YouTube.com advertisement for EltaMD products, the Products are

advertised as “Mineral Based.” Indeed, at one point in the commercial, the voiceover

represents that “All EltaMD sunscreens are mineral-based[.]” See below.3




3
    https://www.youtube.com/watch?v=HLVRPQM_S5Q


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       27.     Exacerbating the deceptive nature of the labeling and advertising is the fact that

some other EltaMD “Zinc Oxide” sunscreens, such as the EltaMD UV Glow Broad-Spectrum

SPF 36 sunscreen (not challenged in this action) are also advertised as containing “Transparent

Zinc Oxide” and only contain zinc oxide, as promised. See below.




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       28.     Plaintiffs and other consumers purchased the Products and based on the

“Transparent Zinc Oxide” representation on the front label of each Product, they reasonably

believed that the sole active sunscreen ingredient in the Products was zinc oxide. Because the

Products contain substantial levels of chemical sunscreen ingredients – in some instances

containing more chemical sunscreen ingredients than zinc oxide – Plaintiffs and other

consumers have been deceived.




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       29.    Plaintiffs are not the only consumers to have been deceived and to have

complained about Defendants’ deceptive labeling and advertising practices. Indeed, numerous

customers have taken to Defendants’ Amazon.com pages for the Products to complain that the

labeling of the Products is deceptive. Below is a non-exhaustive list of almost 40 complaints

just from the Amazon.com pages:




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       30.     The reasonable belief that the Products are made with only zinc oxide as the

active sunscreen ingredient is material to consumers’ purchasing decisions. It is well known

that consumers value and have increasingly turned to “physical” or “mineral” sunscreen

ingredients, such as zinc oxide and titanium dioxide, to protect themselves from the sun. As

opposed to chemical-based sunscreen ingredients (such as octinoxate, octisalate, and

octocrylene) which are absorbed into the skin, mineral sunscreen ingredients sit on the surface

of the skin as an invisible “physical” layer, therefore stopping most UV rays before they have

a chance to penetrate the body.

       31.     Mineral sunscreens have become increasingly popular due the negative health

and environmental consequences associated with chemical sunscreens. Chemical sunscreens

can be irritating to those with sensitive or acne prone skin, and research has demonstrated that

certain chemical sunscreen ingredients are associated with hormonal disruption and the

production of dangerous free radicals. One reason for these deleterious consequences is that

chemical active ingredients in sunscreen can penetrate the skin and enter the bloodstream.

       32.     Moreover, chemical sunscreen ingredients have recently come under fire for

their negative impact on the environment, especially on reefs, including coral and inhabiting



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marine life. Indeed, class action lawsuits have been filed against the top sunscreen

manufacturers such as Edgewell (Banana Boat and Hawaiian Tropic brand sunscreens) for

misleading consumers into believing their sunscreens were “Reef Friendly” or “Reef Safe”

when they contained chemical sunscreen ingredients such as octinoxate, octisalate, and

octocrylene, which are harmful reefs.

       33.    The consequences of chemical sunscreen ingredients have become so dire that

Hawaii has chosen to ban octinoxate in sunscreen products sold in Hawaii.

       34.    As the entities responsible for the development, manufacturing, packaging,

advertising, distribution and sale of the Products, Defendants knew or should have known that

the Products are deceptively advertised as “Transparent Zinc Oxide” and “Mineral-Based”

sunscreens. Moreover, Defendants knew or should have known that Plaintiffs and other

consumers, in purchasing the Products, would rely on Defendants’ representations and be

deceived. This is evidenced in part by the numerous customer complaints made directly to

Defendants on the Amazon.com pages for the Products (see above complaints). Nonetheless,

Defendants deceptively advertise the Products in order to capitalize on demand for premium

mineral sunscreens made solely with zinc oxide.

       35.    Consumers are willing to pay more for the Products based on the belief that the

Products contain only zinc oxide as the active sunscreen ingredient, as promised on the front

label. Plaintiffs and other consumers would have paid significantly less for the Products, or

would not have purchased them at all, had they known that the truth about them. Thus, through

the use of misleading representations, Defendants command a price that Plaintiffs and the

Classes would not have paid had they been fully informed.




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       36.     Therefore, Plaintiffs and other consumers purchasing the Products have

suffered injury in fact and lost money as a result of Defendants’ false and deceptive practices,

as described herein.

                             CLASS ACTION ALLEGATIONS

       37.     Plaintiffs bring this class action pursuant to Fed. R. Civ. P 23 and all other

applicable laws and rules, individually, and on behalf of all members of the following Classes:

       Nationwide Class
       All residents of the U.S. who purchased any of the Products within the applicable
       statute of limitation (“Nationwide Class”).

       California Class
       All residents of California who purchased any of the Products within the applicable
       statute of limitation (“California Class”).

       California Consumer Subclass
       All residents of California who purchased any of the Products for personal, family, or
       household purposes, within the applicable statute of limitations period (“California
       Consumer Subclass”)

       New York Class
       All residents of New York who purchased any of the Products within the applicable
       statute of limitation (“New York Class”) (together with the Nationwide Class, the
       California Class, and the California Consumer Subclass, the “Classes”).

       38.     Excluded from the Classes are the following individuals and/or entities:

Defendants and their parents, subsidiaries, affiliates, officers and directors, current or former

employees, and any entity in which Defendants have a controlling interest; all individuals who

make a timely election to be excluded from this proceeding using the correct protocol for

opting out; and all judges assigned to hear any aspect of this litigation, as well as their

immediate family members.




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       39.     Plaintiffs reserve the right to modify or amend the definition of the proposed

Classes and/or add subclasses before the Court determines whether class certification is

appropriate.

       40.     Numerosity: Members of each Class are so numerous and geographically

dispersed that individual joinder of all Class members is impracticable. The precise number of

Class members is unknown to Plaintiffs but is likely to be ascertained by the Defendants’

records. At a minimum, there likely are at least thousands of Class members.

       41.     Commonality: There are questions of law and fact common to the proposed

class(es). Common questions of law and fact include, without limitations:

               a. whether Defendants’ course of conduct alleged herein violates the statutes

                  and other laws that are pled in this Complaint;

               b. whether reasonable consumers would rely upon the “Transparent Zinc

                  Oxide” and/or “Mineral-Based” representations about the Products and

                  reasonably believe the Products are made solely with zinc oxide as the

                  active sunscreen ingredient;

               c. whether Defendants knew or should have known the foregoing

                  representations were false or misleading;

               d. whether Defendants were unjustly enriched by retaining monies from the

                  sale of the Products;

               e. whether certification of each Class is appropriate under Rule 23;

               f. whether Plaintiffs and the members of each Class are entitled to declaratory,

                  equitable, and/or other relief, and the scope of such relief; and




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               g. the amount and nature of the relief to be awarded to the Plaintiffs and the

                   Classes, including whether Plaintiffs and the Classes are entitled to punitive

                   damages.

       42.     Typicality: Plaintiffs’ claims are typical of the other Class members because

Plaintiffs, as well as Class members, purchased the Products. Plaintiffs and members of the

Classes relied on the “Transparent Zinc Oxide” and/or “Mineral-Based” representations about

the Products prior to purchasing them. Plaintiffs and the members of each Class paid for

Defendants’ Products and would not have purchased them (or would have paid substantially

less for them) had they known that the representations were untrue.

       43.     Adequacy: Plaintiffs will fairly and adequately protect the interests of the

proposed Classes as their interests do not conflict with the interests of the members of the

proposed Classes they seek to represent, and they have retained counsel competent and

experienced in class action litigation. Thus, the interests of the members of the Classes will be

fairly and adequately protected by Plaintiffs and their counsel.

       44.     Predominance: Pursuant to Rule 23(b)(3), the common issues of law and fact

identified in this Complaint predominate over any other questions affecting only individual

members of the Classes. Class issues fully predominate over any individual issue because no

inquiry into individual conduct is necessary; all that is required is a narrow focus on

Defendants’ misconduct detailed at length in this Complaint.

       45.     Superiority: A class action is superior to all other available methods for the

fair and efficient adjudication of this litigation because individual litigation of each claim is

impractical. It would be unduly burdensome to have individual litigation of hundreds of

thousands of individual claims in separate lawsuits, every one of which would present the



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issues presented in the Complaint/lawsuit. Further, because of the damages suffered by any

individual Class member may be relatively modest in relation to the cost of litigation, the

expense and burden of individual litigation make it difficult, if not impossible. Furthermore,

many of the Class members may be unaware that claims exist against the Defendants.

                                FIRST CLAIM FOR RELIEF
                     Violation of New York’s General Business Law § 349
                                   (For the New York Class)

        46.       Plaintiff Opgenorth repeats the allegations contained in paragraphs 1-45 above

as if fully set forth herein.

        47.       Plaintiff Opgenorth brings this claim individually and on behalf of the members

of the proposed New York Class against Defendants.

        48.       New York General Business Law (“GBL”) § 349 prohibits “[d]eceptive acts or

practices in the conduct of any business, trade, or commerce or in the furnishing of any service

in this state.”

        49.       The conduct of Defendants alleged herein constitutes “unlawful” deceptive acts

and practices in violation of GBL § 349, and as such, Plaintiff Opgenorth and the New York

Class members seek monetary damages.

        50.       Defendants misleadingly, inaccurately, and deceptively advertised and

marketed their Products to consumers.

        51.       Defendants’ improper consumer-oriented conduct—including labeling and

advertising the Products as “Transparent Zinc Oxide” and/or “Mineral-Based”— is misleading

in a material way in that it, inter alia, induced Plaintiff Opgenorth and the New York Class

members to purchase and pay a premium for the Products and to consume the Products when




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they otherwise would not have. Defendants made these untrue and/or misleading statements

and representations willfully, wantonly, and with reckless disregard for the truth.

        52.     Plaintiff Opgenorth and the New York Class members have been injured

inasmuch as they paid a premium for the Products that contained significant amounts of

chemical sunscreen ingredients, contrary to the representations made about them. Accordingly,

Plaintiff Opgenorth and the New York Class members received less than what they bargained

and/or paid for.

        53.     Defendants’ deceptive and misleading practices constitute a deceptive act and

practice in the conduct of business in violation of New York General Business Law §349(a)

and Plaintiff Opgenorth and the New York Class members have been damaged thereby.

        54.     As a result of Defendants’ “unlawful” deceptive acts and practices, Plaintiff

Opgenorth and the New York Class are entitled to monetary, compensatory, statutory, treble

and punitive damages, restitution and disgorgement of all moneys obtained by means of

Defendants’ unlawful conduct, interest, and attorneys’ fees and costs.

                              SECOND CLAIM FOR RELIEF
                    Violation of New York’s General Business Law § 350
                                  (For the New York Class)

        55.     Plaintiff Opgenorth repeats the allegations contained in paragraphs 1-45 above

as if fully set forth herein.

        56.     Plaintiff Opgenorth brings this claim individually and on behalf of the members

of the proposed New York Class against Defendants.

        57.     GBL § 350-a(1) provides, in part, as follows:

                The term “false advertising” means advertising, including
                labeling, of a commodity, or of the kind, character, terms or
                conditions of any employment opportunity if such advertising is


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               misleading in a material respect. In determining whether any
               advertising is misleading, there shall be taken into account
               (among other things) not only representations made by
               statement, word, design, device, sound or any combination
               thereof, but also the extent to which the advertising fails to
               reveal facts material in the light of such representations with
               respect to the commodity or employment to which the
               advertising relates under the conditions prescribed in said
               advertisement, or under such conditions as are customary or
               usual. …

       58.     Defendants’ labeling and advertising of the Products as “Transparent Zinc

Oxide” and/or “Mineral-Based” are materially misleading inasmuch as they misrepresent the

Products’ active ingredients.

       59.     Plaintiff Opgenorth and the New York Class members have been injured

inasmuch as they relied upon the labeling and advertising of the Products and paid a premium

for products that did not contain the ingredients that were promised. Accordingly, Plaintiff

Opgenorth and the New York Class members received less than what they bargained and/or

paid for.

       60.     Defendants’ labeling and advertising of the Products induced Plaintiff

Opgenorth and the New York Class members to buy Defendants’ Products. Thus, Defendants

made material misrepresentations about the Products.

       61.     Defendants made the foregoing untrue and/or misleading representations

willfully, wantonly, and with reckless disregard for the truth.

       62.     Defendants’ material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

Products were exposed to Defendants’ material misrepresentations.




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        63.     As a result of Defendant’s “unlawful” deceptive acts and practices, Plaintiff

Opgenorth and the New York Class are entitled to monetary, compensatory, statutory, treble

and punitive damages, restitution and disgorgement of all moneys obtained by means of

Defendants’ unlawful conduct, interest, and attorneys’ fees and costs.

                               THIRD CLAIM FOR RELIEF
                  Violation of California’s Consumers Legal Remedies Act
                             California Civil Code § 1750, et seq.
                           (For the California Consumer Subclass)

        64.     Plaintiff Schneider repeats the allegations contained in paragraphs 1-45 above

as if fully set forth herein.

        65.     Plaintiff Schneider brings this claim individually and on behalf of the members

of the proposed California Consumer Subclass against Defendants.

        66.     The Products are “good[s]” within the meaning of Cal. Civ. Code § 1761(a),

and the purchases of the Products by Plaintiff Schneider and members of the California

Consumer Subclass constitute “transactions” within the meaning of Cal. Civ. Code § 1761(e).

        67.     Cal. Civ. Code § 1770(a)(5) prohibits “[r]epresenting that goods or services

have sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities which they

do not have…” By representing that the Products use “Transparent Zinc Oxide” and/or are

“Mineral-Based,” Defendants have represented and continues to represent that the Products

have characteristics (i.e., are made solely with zinc oxide as the active sunscreen ingredient)

that they do not have. Therefore, Defendants have violated section 1770(a)(5) of the CLRA.

        68.     Cal. Civ. Code § 1770(a)(7) prohibits “[r]espresenting that goods or services

are of a particular standard, quality, or grade, or that goods are of a particular style or model,

if they are of another.” By representing that the Products use “Transparent Zinc Oxide” and/or



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are “Mineral-Based,” Defendants have represented and continue to represent that the Products

are of a particular standard (i.e., made solely with zinc oxide as the active sunscreen ingredient)

that they do not meet. Therefore, Defendants have violated section 1770(a)(7) of the CLRA.

       69.     Cal. Civ. Code § 1770(a)(9) prohibits “[a]dvertising goods or services with

intent not to sell them as advertised.” By representing that the Products use “Transparent Zinc

Oxide” and/or are “Mineral-Based,” Defendants have advertised the Products with

characteristics they intended not to provide to consumers. As such, Defendants have violated

section 1770(a)(9) of the CLRA.

       70.     At all relevant times, Defendants have known or reasonably should have known

that the “Transparent Zinc Oxide” and/or “Mineral-Based” representations are false and

deceptive, and that Plaintiff Schneider and other members of the California Consumer Subclass

would reasonably and justifiably rely on them when purchasing the Products. Nonetheless,

Defendants deceptively advertise the Products as such in order to deceive consumers into

believing they are premium mineral sunscreens which just use zinc oxide as the active

sunscreen ingredient.

       71.     Plaintiff Schneider and members of the California Consumer Subclass have

justifiably relied on Defendants’ misleading representations when purchasing the Products.

Moreover, based on the materiality of Defendants’ misleading and deceptive conduct, reliance

may be presumed or inferred for Plaintiff Schneider and members of California Consumer

Subclass.

       72.     Plaintiff Schneider and members of the California Consumer Subclass have

suffered and continue to suffer injuries caused by Defendants because they would have paid




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significantly less for the Products, or would not have purchased them at all, had they known

the truth about them.

        73.     Under Cal. Civ. Code § 1782, on September 12, 2022, Plaintiff Schneider sent

a notice letter by certified mail to Defendants, notifying them of her intent to pursue a claim

for damages under the CLRA (as well as other statutes) on behalf of herself and all others

similarly situated, and gave Defendants an opportunity to cure, consistent with Cal. Civ. Code

§ 1782. More than 30 days has passed since Defendants’ receipt of the notice letter, yet

Defendants have not cured their deceptive conduct. As such, Plaintiff Schneider seeks damages

under the CLRA, as well all other available remedies.

                             FOURTH CLAIM FOR RELIEF
                      Violation of California’s False Advertising Law
                   California Business & Professions Code § 17500, et seq
                                 (For the California Class)

        74.     Plaintiff Schneider repeats the allegations contained in paragraphs 1-45 above

as if fully set forth herein.

        75.     Plaintiff Schneider brings this claim individually and on behalf of the members

of the proposed California Class against Defendants pursuant to California’s False Adverting

Law (“FAL”), Cal. Bus. & Prof. Code § 17500, et seq.

        76.     The FAL makes it “unlawful for any person to make or disseminate or cause to

be made or disseminated before the public . . . in any advertising device . . . or in any other

manner or means whatever, including over the Internet, any statement, concerning . . . personal

property or services professional or otherwise, or performance or disposition thereof, which is

untrue or misleading and which is known, or which by the exercise of reasonable care should

be known, to be untrue or misleading.” Cal. Bus. & Prof. Code § 17500.



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        77.     Defendants have represented and continue to represent to the public, including

Plaintiff Schneider and members of the proposed California Class, through their deceptive

labeling and advertising, that the Products use “Transparent Zinc Oxide” and/or are “Mineral-

Based.” However these representations are misleading because the Products contain significant

levels of chemical active sunscreen ingredients. Because Defendants have disseminated

misleading information regarding the Products, and Defendants know, knew, or should have

known through the exercise of reasonable care that the representations were and continue to

be false and misleading, Defendants have violated the FAL.

        78.     As a result of Defendants’ false advertising, Defendants have and continue to

unlawfully obtain money from Plaintiff and members of the California Class. Plaintiff

Schneider therefore requests that the Court cause Defendants to restore this fraudulently

obtained money to her and members of the proposed California Class, to disgorge the profits

Defendants made on these transactions, and to enjoin Defendants from violating the FAL or

violating it in the same fashion in the future as discussed herein. Otherwise, Plaintiff Schneider

and members of the proposed California Class may be irreparably harmed and/or denied an

effective and complete remedy.

                              FIFTH CLAIM FOR RELIEF
                Violation of California’s Unfair Competition Law (“UCL”),
                  California Business & Professions Code § 17200, et seq.
                                  (For the California Class)

        79.     Plaintiff Schneider repeats the allegations contained in paragraphs 1-45 above

as if fully set forth herein.

        80.     Plaintiff Schneider brings this claim individually and on behalf of the members

of the proposed California Class against Defendants.



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       81.     The UCL, Cal. Bus. & Prof Code § 17200, provides, in pertinent part, that

“unfair competition shall mean and include unlawful, unfair or fraudulent business practices

and unfair, deceptive, untrue or misleading advertising . . . .”

       82.     Under the UCL, a business act or practice is “unlawful” if it violates any

established state or federal law. Defendants’ false and misleading advertising of the Products

was and continues to be “unlawful” because it violates the CLRA, the FAL, the GBL and other

applicable laws as described herein. As a result of Defendants’ unlawful business acts and

practices, Defendants have unlawfully obtained money from Plaintiff Schneider and members

of the proposed California Class.

       83.     Under the UCL, a business act or practice is “unfair” if its conduct is

substantially injurious to consumers, offends public policy, and is immoral, unethical,

oppressive, and unscrupulous, as the benefits for committing such acts or practices are

outweighed by the gravity of the harm to the alleged victims. Defendants’ conduct was and

continues to be of no benefit to purchasers of the Products, as it is misleading, unfair, unlawful,

and is injurious to consumers who rely on the labeling and advertising. Deceiving unsuspecting

consumers into believing the Products are premium zinc oxide only sunscreens is of no benefit

to consumers. Therefore, Defendants’ conduct was and continues to be “unfair.” As a result of

Defendants’ unfair business acts and practices, Defendants have and continue to unfairly obtain

money from Plaintiff Schneider and members of the proposed California Class.

       84.     Under the UCL, a business act or practice is “fraudulent” if it actually deceives

or is likely to deceive members of the consuming public. Defendants’ conduct here was and

continues to be fraudulent because it has the effect of deceiving consumers into believing the

Products contain only zinc oxide as the active sunscreen ingredient. Because Defendants



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misled Plaintiff Schneider and members of the California Class, Defendants’ conduct was

“fraudulent.” As a result of Defendants’ fraudulent business acts and practices, Defendants

have and continue to fraudulently obtain money from Plaintiff Schneider and members of the

California Class.

        85.     Plaintiff Schneider requests that the Court cause Defendants to restore this

unlawfully, unfairly, and fraudulently obtained money to her, and members of the proposed

California Class, to disgorge the profits Defendants made on these transactions, and to enjoin

Defendants from violating the UCL or violating it in the same fashion in the future as discussed

herein. Otherwise, Plaintiff Schneider and members of the proposed California Class may be

irreparably harmed and/or denied an effective and complete remedy.

                             SIXTH CLAIM FOR RELIEF
                              Breach of Express Warranty
                     Cal. Com. Code § 2313; N.Y. U.C.C. Law § 2-313
                      (For the California Class and New York Class)

        86.     Plaintiffs repeat the allegations contained in paragraphs 1-45 above as if fully

set forth herein.

        87.     Plaintiffs bring this claim individually and on behalf of the members of the

California Class and New York Class against Defendants.

        88.     Both California’s and New York’s express warranty statutes provide that “(a)

Any affirmation of fact or promise made by the seller to the buyer which relates to the goods

and becomes part of the basis of the bargain creates an express warranty that the goods shall

conform to the affirmation or promise,” and “(b) Any description of the goods which is made

part of the basis of the bargain creates an express warranty that the goods shall conform to the

description.” Cal. Com. Code § 2313(1); N.Y. U.C.C. Law § 2-313(1).



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       89.     Defendants have expressly warranted that the Products use “Transparent Zinc

Oxide” and/or are “Mineral-Based,” representations which together create an express warranty

that the sole sunscreen active ingredient in the Products is zinc oxide. However, these

representations are false and misleading because the Products contain significant levels of

chemical sunscreen ingredients.

       90.      The foregoing representations about the Products are: (a) affirmations of fact

or promises made by Defendants to consumers that the sole sunscreen active ingredient in the

Products is zinc oxide; (b) became part of the basis of the bargain to purchase the Products

when Plaintiffs and other consumers relied on the representations; and (c) created an express

warranty that the Products would conform to the affirmations of fact or promises. In the

alternative, the representations are descriptions of goods which were made as part of the basis

of the bargain to purchase the Products, and which created an express warranty that the

Products would conform to the product descriptions.

       91.     Plaintiffs and members of the California Class and New York Class reasonably

and justifiably relied on the foregoing express warranties, believing that the Products did in

fact conform to those warranties.

       92.     Defendants have breached the express warranties made to Plaintiffs and

members of the California Class and New York Class because the Products use significant

amounts of chemical sunscreen ingredients.

       93.     Plaintiffs and members of the California Class and New York Class paid a

premium price for the Products but did not obtain the full value of the Products as represented.

If Plaintiffs and members of the California Class and New York Class had known of the true

nature of the Products, they would not have been willing to pay the premium price associated



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with them. As a result, Plaintiffs and members of the California Class and New York Class

suffered injury and deserve to recover all damages afforded under the law.

        94.     On or around September 2022, Plaintiff Schneider discovered this breach of

express warranty, and on September 12, 2022, Plaintiff Schneider sent a notice letter by

certified mail to Defendants, notifying Defendants of the breach. On or around November

2022, Plaintiff Opgenorth discovered this breach of express warranty, and on November 23,

2022, Plaintiff Opgenorth sent a notice letter by certified mail to Defendants, notifying

Defendants of the breach.


                             SEVENTH CLAIM FOR RELIEF
                               Breach of Implied Warranty
                                 Cal. Com. Code § 2314;
                                (For the California Class)

        95.     Plaintiff Schneider repeat the allegations contained in paragraphs 1-45 above as

if fully set forth herein.

        96.     Plaintiff Schneider brings this claim individually and on behalf of the members

of the California Class against Defendants.

        97.     California’s implied warranty of merchantability statute provides that “a

warranty that the goods shall be merchantable is implied in a contract for their sale if the seller

is a merchant with respect to goods of that kind.” Cal. Com. Code § 2314(1).

        98.     California’s implied warranty of merchantability statute also provides that

“[g]oods to be merchantable must be at least such as . . . (f) conform to the promises or

affirmations of fact made on the container or label if any.” Cal. Com. Code § 2314(2)(f).

        99.     Defendants are merchants with respect to the sale of Products. Therefore, a




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warranty of merchantability is implied in every contract for sale of the Products to California

consumers.

        100.    By advertising the Products with the representations outlined herein,

Defendants made an implied promise that the sole sunscreen active ingredient in the Products

is zinc oxide. However, the Products have not “conformed to the promises…made on the

container or label” because the Products contain significant levels of chemical sunscreen

ingredients. Plaintiff, as well as other California consumers, did not receive the goods as

impliedly warranted by Defendants to be merchantable. Therefore, the Products are not

merchantable under California law and Defendants have breached their implied warranty of

merchantability in regard to the Products.

        101.    If Plaintiff Schneider and members of the California Class had known that the

Products’ were falsely and deceptively labeled and advertised, they would not have been

willing to pay the premium price associated with them. Therefore, as a direct and/or indirect

result of Defendants’ breach, Plaintiff Schneider and members of the California Class have

suffered injury and deserve to recover all damages afforded under the law.

        102.    On or around September 2022, Plaintiff Schneider discovered this breach of

implied warranty, and on September 12, 2022, Plaintiff sent a notice letter by certified mail to

Defendants, notifying Defendants of the breach.


                           EIGHTH CLAIM FOR RELIEF
                    Quasi Contract/Unjust Enrichment/Restitution
  (for the Nationwide Class; alternatively, for the California Class and New York Class)

        103.    Plaintiffs repeat the allegations contained in paragraphs 1-45 above as if fully

set forth herein.



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        104.   Plaintiffs bring this claim individually and on behalf of the members of the

proposed Nationwide Class against Defendants. Alternatively, Plaintiffs bring this claim

individually and on behalf of the members of the proposed California Class and New York

Class against Defendants.

        105.   As alleged herein, Defendants have intentionally and recklessly made

misleading representations to Plaintiffs and members of the Classes to induce them to purchase

the Products. Plaintiffs and members of the Classes have reasonably relied on the misleading

representations and have not received all of the benefits promised by Defendants through the

Products’ representations. Plaintiffs and members of the proposed Classes have therefore been

induced by Defendants’ misleading and deceptive representations about the Products, and paid

more money to Defendants for the Products than they otherwise would and/or should have

paid.

        106.   Plaintiffs and members of the proposed Classes have conferred a benefit upon

Defendants as Defendants have retained monies paid to them by Plaintiffs and members of the

proposed Classes.

        107.   The monies received were obtained under circumstances that were at the

expense of Plaintiffs and members of the proposed Classes—i.e., Plaintiffs and members of

the proposed Classes did not receive the full value of the benefit conferred upon Defendants.

Therefore, it is inequitable and unjust for Defendants to retain the profit, benefit, or

compensation conferred upon them.

        108.   As a direct and proximate result of Defendants’ unjust enrichment, Plaintiffs

and members of the proposed Classes are entitled to restitution, disgorgement, and/or the




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imposition of a constructive trust upon all profits, benefits, and other compensation obtained

by Defendants from their deceptive, misleading, and unlawful conduct as alleged herein.



                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of the proposed Classes,

respectfully prays for following relief:

        A.     Certification of this case as a class action on behalf of the proposed Classes

defined above, appointment of Plaintiffs as Class representatives, and appointment of their

counsel as Class Counsel;

        B.     A declaration that Defendants’ actions, as described herein, violate the claims

described herein;

        D.     An award to Plaintiffs and the proposed Classes of restitution and/or other

equitable relief, including, without limitation, restitutionary disgorgement of all profits and

unjust enrichment that Defendants obtained from Plaintiffs and the proposed Classes as a result

of their unlawful, unfair and fraudulent business practices described herein;

        E.     An award of all economic, monetary, actual, consequential, and compensatory

damages caused by Defendants’ conduct;

        F.     An award of nominal, punitive, and statutory damages;

        H.     An award to Plaintiffs and their counsel of reasonable expenses and attorneys’

fees;

        I.     An award to Plaintiffs and their proposed Classes of pre and post-judgment

interest, to the extent allowable; and

        J.     For such further relief that the Court may deem just and proper.



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                                DEMAND FOR JURY TRIAL

        Plaintiffs, on behalf of themselves and the proposed Classes, hereby demand a jury trial

with respect to all issues triable of right by jury.



DATED: December 1, 2022


                                                       CUSTODIO & DUBEY, LLP



                                                       By:      /s/ Robert Abiri


                                                       Robert Abiri (SBN 238681)
                                                       445 S. Figueroa Street, Suite 2520
                                                       Los Angeles, CA 90071
                                                       Telephone: (213) 593-9095
                                                       Facsimile: (213) 785-2899
                                                       abiri@cd-lawyers.com

                                                       TREEHOUSE LAW, LLP
                                                       Benjamin Heikali (pro hac vice
                                                       forthcoming)
                                                       10250 Constellation Blvd., Suite 100
                                                       Los Angeles, CA 90067
                                                       Telephone: (310) 751-5948
                                                       bheikali@treehouselaw.com


                                                       Attorneys for Plaintiffs and the
                                                       Putative Class




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